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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                  SOUTHERN DIVISION
                                       (at London)

UNITED STATES OF AMERICA,                              )
                                                       )
        Plaintiff,                                     )     Criminal Action No. 6: 13-26-DCR
                                                       )
V.                                                     )
                                                       )
CLINT RAY ALLEN BEGLEY,                                )        MEMORANDUM OPINION
                                                       )            AND ORDER
        Defendant.                                     )

                                           *** *** *** ***

         This matter is pending for consideration of pro se Defendant Clint Ray Allen

Begley’s motion for a reduction of his sentence under 18 U.S.C. § 3582(c)(2). [Record No.

202] Having considered all relevant facts of the case, the Court concludes that a reduction of

Begley’s sentence is not warranted.1

        On November 1, 2014, changes became effective in the drug tables used to determine

non-binding guideline ranges for incarceration in certain federal drug offenses. 18 U.S.C. §

3582(c)(2). The question presented by the current motion is whether a sentence reduction

would be warranted in light of the facts of the case and all relevant factors to be considered

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        The Court has also determined that appointment of counsel is not necessary. Further, this matter
does not require a hearing to resolve the defendant’s motion. There is no constitutional right to either
counsel or a hearing in proceedings filed under 18 U.S.C. § 3582(c)(2). United States v. Whitebird, 55
F.3d 1007 (5th Cir. 1995); United States v. Townsend, 98 F.3d 510 (9th Cir. 1996); United States v.
Webb, 565 F.3d 789 (11th Cir. 2009); and United States v. Legree, 205 F.3d 724 (4th Cir. 2000), cert.
denied, 531 U.S. 1080 (2001). Section 3582(c)(2) simply provides “a vehicle through which
appropriately sentenced prisoners can urge the court to exercise leniency to give [them] the benefits of an
amendment to the U.S. Sentencing Guideline Manual. As such, it does not entitle [a prisoner] to
appointed counsel.” Townsend, 98 F.3d at 513 (citing Whitebird, 55 F.3d at 1011). Instead, the district
court has discretion to determine whether appointment of counsel is warranted. Where, as here, the
record and information available to the Court from the original sentencing is sufficient to consider any
motion filed under 18 U.S.C. § 3582(c)(2), appointment of counsel would be a unnecessary and a waste
of resources.

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under 18 U.S.C. § 3553. These factors include, but are not limited to, the need for the

sentence imposed to:

       (A) reflect the seriousness of the offense, promote respect for the law, and
       provide a just punishment for the offense;

       (B) afford adequate deterrence to criminal conduct;

       (C) protect the public from future crimes of the defendant; and

       (D) provide the defendant with needed educational or vocational training,
       medical care, or other corrective treatment in the most effective manner.

See 18 U.S.C. § 3553(a)(2).

       On April 11, 2014, Defendant Begley pleaded guilty to conspiracy to distribute pills

containing Oxycodone in violation of 21 U.S.C. § 846. [Record No. 163] He received a

sentence of 40 months of incarceration and a three-year term of supervised release.

Paragraph 3 of Begley’s written plea agreement provides, in pertinent part:

       (a) The Defendant, Clint Ray Allen Begley, admits that he conspired with
       Michael Jent and others to distribute oxycodone pills from a time period
       beginning in or about May of 2011 through June of 2013. Oxycodone is a
       Schedule II controlled substance.

       (b) Specifically, the Defendant admits that he traveled with Jent and others to
       pain clinics in Florida and Georgia to obtain oxycodone pills. During each
       visit, the Defendant received a prescription for approximately 180 oxycodone
       30 mg pills and 90 oxycodone 15 mg pills. A portion of these pills were
       distributed in Southeastern Kentucky.

       (c) Based on the evidence obtained by law enforcement, including the
       Defendant’s own admissions, the United States could prove beyond a
       reasonable doubt, and the Defendant admits, that he is responsible for
       distributing approximately 1,675 oxycodone 30 mg pills and 1,340 oxycodone
       15 mg pills.


[Record No. 161, pp. 1-2]



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       At the time of his sentencing, Begley’s guideline range for imprisonment was 46 to

57 months, based on a total offense level of 23 and a criminal history category of I.

However, as the Court explained during the sentencing hearing, all relevant factors under 18

U.S.C. § 3553 were also considered in arriving at an appropriate sentence. At the request of

defense counsel, who evidently anticipated the present circumstances, the Court also

considered the potential for a future two-level reduction pursuant to a change in the

Guidelines. In consideration of this potential change, the Court advised that a sentence

resulting from a serious consideration of the § 3553 factors should not be affected by

retroactive changes to the Guidelines.

       The 40-month sentence ultimately imposed reflected a downward variance from the

guideline range. In fact, the sentence falls within the amended guidelines range (37 to 46

months) that would result from the two-level reduction that Defendant Begley now requests.

In arriving at this sentence, the Court cautioned that this was the lowest that should be

imposed “in terms of protection of the public, issues of deterrence, and an appropriate

sentence that reflects the seriousness of the offense.” To go below the term of this sentence

“would diminish the seriousness of the offense.” This consideration has not changed in light

of the new Sentencing Guidelines.

       Defendant Begley is a drug trafficker, responsible for a substantial amount of

oxycodone distribution in this district. He pleaded guilty to a serious offence. Anything less

than the sentence imposed originally would unduly diminish the seriousness of the offense,

would not provide sufficient general or specific deterrence, and would not provide proper

punishment to the defendant. Finally, the Court notes that the United States Sentencing

Guidelines are not binding. While the cost to incarcerate Begley are substantial, that cost is
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not a significant factor to consider under 18 U.S.C. § 3553 and it does not overcome the

considerations outline above. Accordingly, it is hereby

       ORDERED that Defendant Begley’s motion for a reduction of his sentence [Record

No. 202] under 18 U.S.C. § 3582(c)(2) is DENIED.

       This 12th day of November, 2014.




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